               Case 19-50102-gs       Doc 2935       Entered 10/29/21 14:52:20         Page 1 of 1

NVB 10−2(b) (Rev. 3/15)


                             UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEVADA


 IN RE:                                                      BK−19−50102−gs
                                                             CHAPTER 7
 DOUBLE JUMP, INC.


                                  Debtor(s)                  ORDER GRANTING VERIFIED PETITION




The submitted document "Verified Petition for Permission to Practice in this Case Only by Attorney not Admitted to
the Bar of this Court" filed by JEFFREY R. DUTSON is GRANTED.



Dated: 10/29/21


                                                          Mary A. Schott
                                                          Clerk of Court
